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                      IN THE UNITED STATES DISTRICT COURT FOR
                         THE SOUTHERN DISTRICT OF NEW YORK


                                      )
 THINK COFFEE LLC,                    )
                                      )
                          Plaintiff,  )
                                      )
 V.                                   )
                                      ) Civil Action No. 1:24-cv-0 1963
 FOUR SIGMA FOODS, INC.               )
 And FUNGUYS, INC.                    ) DEMAND FOR JURY TRIAL
                                      )
                          Defendants. )
 ____________ )
         ORDER FOR ADMISSION PRO HAC VICE OF DOUGLAS RETTEW

        The motion of DOUGLAS RETTEW ("Applicant") for admission to practice pro hac vice in the

above-captioned action is GRANTED.

        Applicant has declared that he is a member of good standing of the bars of the State of Maryland,

the State of New Jersey, and the District of Columbia; and that his contact information is as follows:

                                           Douglas Rettew (douglas.rettew@finnegan.com)
                                           FINNEGAN, HENDERSON, FARABOW, GARRETT
                                           &DUNNERLLP
                                           901 New York A venue, NW
                                           Washington, DC 20001
                                           Tel: (202) 408-4000


Applicant having requested admission pro hac vice to appear for all purposes as counsel for defendants

Four Sigma Foods, Inc. and Funguys, Inc. , in the above-captioned action;

        IT IS HEREBY ORDERED that Applicant is admitted to practice pro hac vice in the above-

captioned action in the United States District Court for the Southern District of New York.

        All attorneys appearing before this Court are subject to the Local Rules of this Court, including

the Rules governing the discipline of attorneys.
